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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


 AMERICAN FEDERATION OF
 GOVERNMENT EMPLOYEES,
 NATIONAL COUNCIL OF HUD LOCALS
 COUNCIL 222, AFL-CIO,

        Plaintiff,

 v.                                                       Civil Action No. 19-cv-01934 (RJL)

 FEDERAL SERVICE IMPASSES PANEL,
 ET AL.,

        Defendants,

 U.S. DEPARTMENT OF HOUSING AND
 URBAN DEVELOPMENT,
 451 7th Street, S.W.
 Washington, D.C. 20410

                Intervenor.



       STATEMENT OF POINTS AND AUTHORITIES IN SUPPORT OF THE U.S.
      DEPARTMENT OF HOUSING AND URBAN DEVELOPMENT’S MOTION TO
                  INTERVENE UNDER RULE 24(a) OR 24(b)

       On February 14, 2019, the Federal Service Impasses Panel (“Panel”) issued a decision

and order that resolved a collective-bargaining impasse between the U.S. Department of Housing

and Urban Development (“HUD”) and the American Federation of Government Employees,

National Council of HUD Locals Council 222, AFL-CIO (“AFGE-HUD”), the exclusive

representative of a bargaining unit of HUD employees. Department of Housing and Urban

Development and AFGE, Council of HUD Locals 222, 18 FSIP 075 (Feb. 14, 2019) (“HUD and

AFGE-HUD”). AFGE-HUD seeks to undo that decision, and thereby set aside the ground rules

approved for the parties’ bargaining, through this federal action against the Panel, Mark Anthony

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Carter in his official capacity as Chairman of the Panel, and the Federal Labor Relations

Authority (“Authority”) (collectively, “Defendants”). Am. Compl., ECF No. 14. AFGE-HUD

alleges, in short, that the Panel decision is void because it was issued by a Panel whose

composition was statutorily and constitutionally infirm.

       HUD was not named as a defendant by AFGE-HUD, and thus is not presently a party to

this action. But its interests in the underlying negotiation process, including the Panel decision,

are both concrete and substantial. HUD invested significant time and expense in the collective-

bargaining negotiations leading up to and underlying the Panel decision. Thus, a court order in

AFGE-HUD’s favor would force HUD to expend significantly more time and money to continue

negotiations that such a decision would reopen. At the same time, HUD’s interest in this case

goes beyond the challenged Panel decision (and underlying collective bargaining negotiation). A

ruling adverse to Defendants on either statutory or constitutional grounds (or both) might call

into question a whole host of HUD’s collective bargaining agreements that were only finalized

with the Panel’s intervention.

       Accordingly, HUD’s substantial interests in the subject of this case support its

intervention as a matter of right under Federal Rule of Civil Procedure 24(a)(2). Alternatively,

HUD should be granted permissive intervention under Rule 24(b)(1)(B). Indeed, had AFGE-

HUD presented its challenge administratively before the Authority and then sought judicial

review in a federal court of appeals—the proper course of action under the Federal Service

Labor-Management Relations Statute, see Am. Federation of Gov’t Emps., AFL-CIO v. Fed.

Labor Relations Auth., 778 F.2d 850, 854 (D.C. Cir. 1985)—intervention by HUD would have

been granted as a matter of course. The courts of appeals routinely authorize intervention by the




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agency that, like HUD here, prevailed before the Authority in the underlying administrative

proceedings.

          At this juncture, HUD specifically seeks to intervene for the goal of ensuring that the

Court address substantial questions of subject-matter jurisdiction before any further actions are

taken, including further briefing on AFGE-HUD’s early cross-motion for summary judgment.

HUD fully agrees with the compelling jurisdictional arguments raised by Defendants in the

pending motion to dismiss, ECF No. 20. HUD does not seek to supplement that motion at this

time, however, unless the Court determines that it would be of benefit to its consideration of

Defendants’ motion, in which event HUD would be happy to do so on a schedule convenient to

the Court. Barring such a request from the Court, HUD seeks now only to argue for a stay of

summary judgment briefing to permit the Court to resolve the questions of jurisdiction that

Defendants have ably raised.

          Thus, HUD contends that the parties’ briefing on, and the Court’s consideration of,

AFGE-HUD’s early cross-motion for summary judgment is not yet warranted and should be

stayed pending resolution of the Court’s jurisdiction. To that end, a motion to stay briefing on,

and consideration of, the motion for summary judgment is attached hereto as Exhibit A. 1 HUD

further requests that, if the Court grants its intervention motion, the Court simultaneously accept

the attached motion to stay and deem it to have been filed effective on this date.

                                          BACKGROUND

          The Federal Service Labor-Management Relations Statute, 5 U.S.C. §§ 7101-7135 (2018)

(the “Statute”), “establishe[s] a distinct regulatory framework for collective bargaining between

federal agencies and their employees.” Nat’l Air Traffic Controllers Ass’n v. Federal Serv.



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    Defendants consent to the motion to stay, but Plaintiff does not consent.
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Impasses Panel, 606 F.3d 780, 783 (D.C. Cir. 2010) (“NATCA 2010”) (quotation omitted). The

Authority, which administers the Statute, is composed of three members who are “appointed by

the President by and with the advice and consent of the Senate.” 5 U.S.C. § 7104(b). The Panel,

in turn, is an entity within the Authority tasked with resolving disputes between federal agencies

and their employees’ exclusive representatives after their labor negotiations have reached an

impasse. NATCA 2010, 606 F.3d at 783 (quoting Nat’l Air Traffic Controllers Ass’n AFL-CIO v.

Federal Serv. Impasses Panel, 437 F.3d 1256, 1257–58 (D.C. Cir. 2006)). If the Panel asserts

jurisdiction over an impasse, it may “take whatever action is necessary and not inconsistent with

[the Statute] to resolve the impasse,” 5 U.S.C. § 7119(c)(5)(B)(iii), including issuing orders

setting forth specific terms that become “part of the [parties’] collective bargaining agreement.”

Am. Federation of Gov’t Emps., AFL-CIO v. Federal Labor Relations Auth., 778 F.2d 850, 863

(D.C. Cir. 1985) (Ginsburg, J., dissenting). The Panel is “composed of a Chairman and at least

six other members,” each of whom is “appointed by the President” without the advice and

consent of the Senate. 5 U.S.C. § 7119(2).

       HUD is a federal agency subject to the Statute. And it is party to a collective bargaining

agreement (“CBA”) with AFGE-HUD that expired on July 23, 2018. Am. Compl. ¶ 6. Under

the CBA’s terms, the CBA continues in full force and effect, in one-year periods, until a newly

negotiated CBA becomes effective. Id. In May 2018, HUD notified AFGE-HUD that it wished

to negotiate a new CBA. Id. ¶ 21. The next month, HUD and AFGE-HUD began bargaining

over a “ground rules” agreement that would govern their subsequent negotiations for a new

CBA. Id. ¶ 22. Not long after they began their ground rules negotiations, the parties reached an

impasse. Id. ¶ 23.




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       On November 15, 2018, over AFGE-HUD’s objection, the Panel asserted jurisdiction

over the parties’ impasse. Id. ¶ 25. It ordered the parties to engage in mediation. Id. ¶ 26. After

mediation failed, the parties returned to the Panel for its resolution of the impasse. Id. ¶ 27. On

February 14, 2019, the Panel issued a decision and order that imposed certain terms on the

parties’ ground rules agreement. HUD and AFGE-HUD, 18 FSIP 075. At the time it issued its

decision, the Panel was composed of a Chairman and three other members, each of whom was

appointed by the President without the advice and consent of the Senate. Am. Compl. ¶¶ 28–32.

       After the Panel issued its decision, AFGE-HUD brought this action in the United States

District Court for the District of Columbia, seeking its vacatur. AFGE-HUD claims that: (1) the

Panel’s decision is ultra vires because the Panel issued the decision when it was composed with

less than the statutorily required number of members, Am. Compl. ¶¶ 44–49; (2) for the same

reason, the Panel’s decision violates the Administrative Procedure Act, 5 U.S.C. § 706(2)(C), id.

¶¶ 62–67; and (3) Panel members are principal officers whose appointments are inconsistent with

the Constitution, and therefore the Panel decision is itself unconstitutional, id. ¶¶ 50–61.

       Defendants moved to dismiss AFGE-HUD’s complaint for lack of jurisdiction. ECF No.

20. AFGE-HUD then cross-moved for summary judgment on the merits, incorporating into that

motion its response to Defendants’ motion to dismiss. ECF No. 23. Both motions remain

pending; AFGE’s early cross-motion for summary judgment has not yet been fully briefed by the

parties. As matters stand, Defendants’ response in opposition to AFGE-HUD’s early cross-

motion is due by Wednesday, December 4, 2019. See Minute Order, Nov. 8, 2019.

                                           ARGUMENT

       HUD is entitled to intervene in this action as of right; alternatively, HUD meets the

requirements for permissive intervention. In litigation arising from administrative proceedings



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under the Statute—in which judicial review is at least presumptively exclusive to the federal

courts of appeals, see AFGE, et al. v. Trump, et al., 929 F.3d 748 (D.C. Cir. July 16, 2019)—

petitioning labor unions ordinarily proceed against the Authority as the respondent. In those

cases, intervention by the party that prevailed in the administrative proceeding is routinely

granted. See, e.g., International Union, United Auto., Aerospace & Agr. Implement Workers of

Am. AFL-CIO, Local 283 v. Scofield, 382 U.S. 205, 208, 211 (1965). Just as it would be in the

court of appeals, HUD’s intervention is proper in this Court.

       HUD is entitled to intervene as of right because AFGE-HUD’s claims attacking the

validity of the Panel’s decision and order put HUD’s interests directly at stake in this litigation.

The Panel decision resolved a bargaining impasse between HUD and AFGE-HUD on the terms

that would govern their ongoing negotiations over a new CBA. AFGE-HUD’s statutory and

constitutional attack on the Panel’s authority to issue that decision threatens to undo the finality

the Panel’s decision imposed on the parties’ negotiations. And it places HUD at risk of having to

expend significantly more time and money to revisit prior negotiations that a ruling in AFGE-

HUD’s favor would reopen. At the same time, HUD’s interest extends beyond the Panel

decision specifically at issue in this litigation. A merits ruling favorable to AFGE-HUD may

well call into question the validity of each one of HUD’s CBAs that required the Panel’s

involvement. A potential ruling in AFGE-HUD’s favor thus might engender further litigation

over the force of prior negotiated agreements and place unknown obligations on HUD with

respect to its employees and their exclusive representatives.

       HUD’s interest in the Panel decision underlying this litigation gives it Article III standing

to intervene as of right. Because of that interest, and considering the early stages of this

litigation, HUD likewise meets Rule 24(a)(2)’s four requirements for intervention as of right.



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Even if HUD did not satisfy the requirements for intervention as of right, however, it would

alternatively meet the requirements for permissive intervention. HUD’s experience negotiating

multiple CBAs with its employees’ exclusive representatives as well as its financial stake in the

validity of the Panel order at issue in this case, and similar orders issued prior to this one, give it

a unique perspective that warrants its participation in the litigation under Rule 24(b)(1)(B)’s

generous permissive intervention requirements.

    A. HUD Satisfies the Requirements for Intervention as of Right under Rule 24(a)(2).

        In the largely analogous National Labor Relations Board context, it is commonly

recognized that “the party supporting a Board order, or the part challenged, may intervene” in

federal proceedings. NLRB v. Oil, Chem. & Atomic Workers Int’l Union, AFL-CIO, 476 F.2d

1031, 1034 (1st Cir. 1973) (citing Scofield, 382 U.S. at 211); see also Scofield, 382 U.S. at 211 &

n.4 (agreeing with the “vast majority of the courts” that have “recognized [the] right” of a party

prevailing before a labor board to intervene in the losing party’s petition for review in federal

court). For the same reasons, the D.C. Circuit grants intervention to the employer or union that

prevailed before the Authority as a matter of course. See U.S. Dep’t of Justice Fed. Bureau of

Prisons Fed. Corr. Complex Coleman, Fla. v. Fed. Labor Relations Auth., 737 F.3d 779, 782

(D.C. Cir. 2013); Fed. Bureau of Prisons v. Fed. Labor Relations Auth., 654 F.3d 91 (D.C. Cir.

2011); U.S. Dep’t of Homeland Sec., Customs & Border Prot. v. Fed. Labor Relations Auth., 647

F.3d 359 (D.C. Cir. 2011); Nat’l Treasury Emps. Union v. Fed. Labor Relations Auth., 453 F.3d

506 (D.C. Cir. 2006); Fed. Labor Relations Auth. v. Nat’l Aeronautics & Space Admin., 120 F.3d

1208, 1211 (11th Cir. 1997), aff’d, 527 U.S. 229, 119 S. Ct. 1979, 144 L. Ed. 2d 258 (1999);

U.S. Dep’t of Def. v. Fed. Labor Relations Auth., 982 F.2d 577, 578 (D.C. Cir. 1993); U.S. Office

of Pers. Mgmt. v. Fed. Labor Relations Auth., 905 F.2d 430, 432 (D.C. Cir. 1990); Am.



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Federation of Gov’t Emps. v. Fed. Labor Relations Auth., 850 F.2d 782 (D.C. Cir. 1988); Nat’l

Federation of Fed. Emps. v. Fed. Labor Relations Auth., 852 F.2d 1349 (D.C. Cir. 1988); Local

32, AFGE, AFL-CIO v. Fed. Labor Relations Auth., 782 F.2d 1526 (D.C. Cir. 1984). Because

sole litigation authority on behalf of the federal government in most instances is vested in the

Department of Justice, 28 U.S.C. § 516, the Department often intervenes in the federal courts of

appeals on behalf of agencies, like HUD here, that were a party to the underlying Authority

decisions.

       Just as HUD would be entitled to intervene in an appellate proceeding on direct review

under the Statute, HUD’s unique interest in this action allows it to intervene as of right in this

Court under Rule 24(a)(2). That Rule provides, in relevant part:

       Upon timely motion, the court must permit anyone to intervene who . . . claims an
       interest relating to the property or transaction which is the subject of the action, and
       is so situated that disposing of the action may as a practical matter impair or impede
       the movant’s ability to protect its interest, unless the existing parties adequately
       represent that interest.

Federal Rule of Civil Procedure 24(a)(2). As this Circuit has explained, intervention as of right

under Rule 24 depends on four factors:

       (1) the timeliness of the motion; (2) whether the applicant “claims an interest
       relating to the property or transaction which is the subject of the action”; (3)
       whether “the applicant is so situated that the disposition of the action may as a
       practical matter impair or impede the applicant’s ability to protect that interest”;
       and (4) whether “the applicant’s interest is adequately represented by existing
       parties.”

Fund For Animals, Inc. v. Norton, 322 F.3d 728, 731 (D.C. Cir. 2003) (quoting Mova Pharm.

Corp. v. Shalala, 140 F.3d 1060, 1074 (D.C. Cir. 1998). In addition to meeting these

requirements, “a party seeking to intervene as of right must demonstrate that it has standing

under Article III of the Constitution.” Id. at 731–32. The standing requirement exists “because a

Rule 24 intervenor seeks to participate on an equal footing with the original parties to the suit.”

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Id. at 732 (quoting City of Cleveland v. NRC, 17 F.3d 1515, 1517 (D.C. Cir. 1994)). When it

comes to determining whether these factors are met, Rule 24(a) “is construed broadly in favor of

applicants for intervention.” United States v. Oregon, 913 F.2d 576, 587 (9th Cir. 1990), cert.

denied sub nom., Makah Indian Tribe v. United States, 501 U.S. 1250 (1991).

       All these factors considered, HUD is entitled to intervention of right. For starters, HUD

meets Article III’s injury-in-fact, causation, and redressability requirements for standing. See

Norton, 322 F.3d at 732–33. The standing requirements, as applied in the intervention context,

require HUD to “demonstrate a causal connection between a judgment by th[e] Court for

plaintiff[] and a concrete and imminent injury-in-fact to” HUD. Ctr. for Biological Diversity v.

U.S. EPA, 274 F.R.D. 305, 309 (D.D.C. 2011). That test is easily met here. A court ruling in

AFGE-HUD’s favor would directly implicate HUD’s obligations in its ongoing negotiations with

AFGE-HUD, placing the two parties back at the negotiation table or before a new Panel to again

resolve their impasse. Either way, HUD will be forced to expend substantial time and money to

continue to resolve the disputes between the parties that the Panel’s existing order has already

settled. See Textile Workers Union of Am., CIO v. Allendale Co., 226 F.2d 765, 769 (1955)

(stating that an “economic interest” in the subject of the action is “sufficient to justify

intervention under Rule 24”). A ruling in AFGE-HUD’s favor would also inject uncertainty into

the many agreements between HUD and its employees’ exclusive representatives that have

required the Panel’s intervention. HUD thus has standing to intervene as of right.

       Moreover, HUD’s motion to intervene satisfies Rule 24(a)(2)’s four factors for

intervention as of right. First, its motion is timely. AFGE-HUD initiated this action on June 27,

2019, ECF No. 1, and filed its Second Amended Complaint on August 27, 2019—just three

months ago. ECF No. 14. The parties very recently completed briefing on Defendants’ motion



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to dismiss for lack of jurisdiction, see ECF No. 25, and the Court has yet to rule on that motion.

Although AFGE-HUD has already filed a cross-motion for summary judgment, its motion was

early; it did so before the parties even completed briefing on Defendants’ jurisdictional motion to

dismiss. See id. Moreover, HUD’s immediate interest in this action concerns the timing of

AFGE-HUD’s cross-motion for summary judgment. Therefore, HUD’s intervention will not

impede resolution of the pending and fully briefed motion to dismiss, but rather only the Court’s

consideration of AFGE-HUD’s early cross-motion for summary judgment. 2 Accordingly,

HUD’s intervention will not cause any delay or prejudice to the current parties in the case.

Wash. Alliance of Tech. Workers v. U.S. Dep’t of Homeland Sec’y, 395 F. Supp. 3d 1, 18

(D.D.C. 2010) (stating that “the purpose for which intervention is sought . . . and the probability

of prejudice to those already parties in the case” are relevant factors when judging the timeliness

of an intervention request (quoting United States v. British Am. Tobacco Austl. Servs., Ltd., 437

F.3d 1235, 1238 (D.C. Cir. 2006)).

       Second, HUD’S “constitutional standing is alone sufficient to establish that” it satisfies

the next intervention factor: having “an interest relating to the property or transaction which is

the subject of the action.” Norton, 322 F.3d at 735 (quoting Fed. R. Civ. Pr. 24(a)(2)). The

relevant “property” here is the FSIP decision and order and the “transaction” is impasse between

HUD and AFGE-HUD that the decision and order resolved. See id. That HUD might well

suffer a concrete injury from a court ruling in AFGE-HUD’s favor is enough to show that it has a



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  Similarly, HUD initially did not believe it necessary to seek intervention prior to resolution of
Defendants’ jurisdictional motion to dismiss. In light of AFGE-HUD’s early-filed cross-motion
for summary judgment, however, HUD now finds it necessary to do so. That said, as the
attached Motion to Stay argues, the Court should stay briefing on and consideration of the
motion for summary judgment until after it has resolved the substantial jurisdictional questions
presented in Defendants’ pending motion to dismiss. Those arguments in support of such a stay
apply whether HUD intervenes in this case or not.
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direct interest in the subject of this action that gives is the right to intervene. See Allendale Co.,

226 F.2d at 769.

        Third, disposition of this action without HUD’s participation will necessarily impede

HUD’s ability to protect its interest in the Panel’s decision and order. This factor looks to the

“‘practical consequences’ of denying intervention.” Nat’l Resources Defense Council v. Costle,

561 F.2d 904, 909 (D.C. Cir. 1977); see Nuesse v. Camp, 385 F.2d 694, 700 (D.C. Cir. 1967)

(“[I]n the intervention area[,] the ‘interest’ test is primarily a practical guide to disposing of

lawsuits by involving as many apparently concerned persons as is compatible with efficiency and

due process.”). A ruling in AFGE-HUD’s favor will make “the task of reestablishing the status

quo” between HUD and AFGE-HUD—having a final ground rules agreement—“difficult and

burdensome.” Norton, 322 F.3d at 735. HUD would be required to expend substantial time and

money to again attempt to resolve a negotiation impasse with AFGE-HUD, which the Panel’s

almost 10-month-old decision was designed to resolve. This time, however, depending on what

an AFGE-HUD-favorable court ruling says about the Panel’s constitutional status, when and

how the parties are able to resolve the impasse may have no definite answer.

        Finally, HUD’s interest is not adequately represented by existing parties. This final

requirement is not an onerous one. Dimond v. District of Columbia, 792 F.2d 179, 192 (D.C.

Cir. 1986). Like the other requirements for intervention of right, it is to be construed liberally in

favor of intervention, and the party opposing intervention bears the burden of “show[ing] the

adequacy of the existing representation.” Nuesse, 385 F.2d at 702. HUD’s interest in this case is

having the Panel’s decision upheld. That interest, to be sure, “overlap[s]” with the interests of

existing defendants, Norton, 322 F.3d at 736—the Authority and the Panel likewise have an

interest in the Panel decision being upheld. But the Authority’s and the Panel’s interest in



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preserving that decision only extends so far as their interest in maintaining the Panel’s authority

to resolve labor disputes between parties such as HUD and AFGE-HUD. Therefore, the

Authority and the Panel naturally possess a broad interest in seeing any Panel decision upheld.

       HUD’s interest, on the other hand, is directly tied to the particular Panel decision in this

case and to the many other Panel decisions that apply specifically to HUD. That interest gives it

a financial stake in the case’s outcome that the existing defendants do not similarly possess—

again, if the Panel decision is struck down as a violation of the Statute or the Constitution, HUD

will be forced to expend additional time and resources to restart negotiations or proceedings

before a newly composed Panel. See Dimond, 792 F.2d at 190 (finding existing representation

inadequate when only the party seeking intervention had a “financial stake in the outcome” of

the case). HUD’s unique financial interest as compared to the existing defendants is sufficient to

demonstrate that it is not adequately represented by those defendants. See Norton, 322 F.3d at

735–36 (all the would-be intervenor must show is that “representation of [its] interest ‘may be’

inadequate” (quoting Trbovich v. United Mine Workers, 404 U.S. 528, 538 n.10 (1972)

(emphasis added)); cf. Allendale, 226 F.2d at 769 (having an economic interest in the action is

sufficient to justify intervention under Rule 24).

       HUD, in sum, may intervene as of right under rule 24(a)(2), because it satisfies the

Article III standing requirements as well as the Rule’s four intervention factors.

   B. Alternatively, HUD Satisfies the Requirements for Permissive Intervention under
      Rule 24(b)(1).

       Alternatively, HUD meets the requirements for permissive intervention. Rule 24(b)

provides in relevant part that, “[o]n timely motion, the court may permit anyone to intervene

who . . . has a claim or defense that shares with the main action a common question of law or

fact.” Fed. R. Civ. Pr. 24(b)(1)(B). “Although the rule speaks in terms of a ‘claim or defense’

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this is not interpreted strictly so as to preclude permissive intervention.” Nuesse, 385 F.2d at

704. Those terms are interpreted broadly to allow intervention even “in situations where ‘the

existence of any nominate ‘claim’ or ‘defense’ is difficult to find.’” Id. at 704 (quoting 4 J.

MOORE, FEDERAL PRACTICE P24.10, at 6o (1966)). And so, as with the requirements for

intervention as of right, those for permissive intervention under Rule 24(b) must be liberally

construed. Accord id. at 704–05 (noting that the Rule was amended to avoid “exclusionary

constructions” and “considers [a] governmental application [to intervene] with a fresh and more

hospitable approach”). Permissive intervention is particularly favored when it would “advance

the ‘public interest’” by bringing another important perspective to bear on a federal question

having far-reaching consequences. Id. at 705–06.

       If HUD’s interest in this lawsuit does not entitle it to intervention as of right, its defense

certainly allows it to intervene permissively. For the reasons explained above, HUD’s motion to

intervene is timely. And the agency’s defenses to AFGE-HUD’s claims, if ultimately presented,

would share a common question of law and fact with those raised by Defendants. HUD has a

substantial stake in the validity of this Panel decision, as well as any prior Panel decisions

pertaining to HUD’s CBAs. Adding HUD’s voice to the mix, moreover, will advance notions of

due process and the public’s interest in ensuring that as many perspectives as possible are heard

on claims that have the potential to profoundly affect not only HUD but also every other federal

agency that is subject to the Panel’s jurisdiction. See Nuesse, 385 F.2d at 706 (“[P]ermissive

intervention is available when sought because an aspect of the public interest with which [a

public entity] is officially concerned is involved in the litigation.”). And because adding HUD to

this case will not “unduly expand the controversy or otherwise lead to improvident delay or

expense,” permissive intervention—if not intervention as of right—is entirely appropriate. Id.



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(reversing a district court’s denial of permissive intervention when intervention by a state entity

would advance public interests and there was no finding that intervention would expand unduly

expand the controversy or delay its resolution).

                                         CONCLUSION

       For the foregoing reasons, HUD seeks to intervene in this action as of right under Rule

24(a)(2) or, alternatively by permission under Rule 24(b)(1)(B). HUD likewise seeks the Court’s

permission to file the Motion to Stay Summary Judgment Briefing, attached as Exhibit A, and to

deem it effectively filed as of this date should HUD’s intervention be authorized.


Dated: December 2, 2019                       Respectfully submitted,

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                                              /s/ Kyla M. Snow
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